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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

CONLEY WALLACE,                                            §
DEBRA THORNTON, AND                                        §
JOAN MORGAN,                                               §
                                                           §
                  Plaintiffs,                              §             Civil No. 4:19-cv-00329
                                                           §
v.                                                         §
                                                           §             JURY DEMANDED
QUALITY ELECTRIC STEEL                                     §
CASTINGS, L.P.                                             §
                                                           §
                  Defendant.                               §


               DEFENDANT QUALITY ELECTRIC STEEL CASTINGS, L.P.’S
              AMENDED MOTION TO ENFORCE MEDIATION AGREEMENT

         Defendant Quality Electric Steel Castings, L.P. (“Quality Electric”) moves to enforce the

Mediation Agreement entered into between Plaintiffs Conley Wallace, Debra Thornton, and Joan

Morgan (collectively “Plaintiffs”), on the one hand, and Quality Electric, on the other, and will

show the following:1

                                              Factual Background

         1.       Plaintiffs Wallace, Thornton and Morgan filed a Complaint with this Court on January

30, 2019, in which they asserted claims of age discrimination against Quality Electric as a result of

their terminations in 2017 during a reduction-in-force. Plaintiff Thornton also alleged that she had been

terminated because of her sex and disability.

         2.       On August 1, 2019, the Court referred the case to United States Magistrate Judge Dena

Palermo for mediation.

         3.       The case was successfully mediated before Judge Palermo on October 17, 2019.


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 This Amended Motion is identical to the original except that it includes a copy of a redacted transcript of the hearing
held at the conclusion of the mediation.


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        4.      After the parties reached agreement, Judge Palermo prepared a written Mediation

Agreement memorializing the terms of the agreement that had been reached, with the understanding

that a formal agreement would later be drafted. All of the parties signed the Mediation Agreement. A

redacted copy of the signed Mediation Agreement (with the dollar amounts redacted) is attached as

Exhibit A.

        5.      After the Mediation Agreement had been signed, Judge Palermo verbally questioned

each of the parties as to whether the Mediation Agreement accurately reflected the agreement that had

been reached, whether they were agreeing to its terms voluntarily, and whether they had sought the

advice of counsel before signing. The three plaintiffs and the corporate representative answered each

of these questions in the affirmative. A copy of a redacted transcript is attached as Exhibit B.

        6.      Pursuant to the terms of the Mediation Agreement, Defendant’s counsel prepared a

formal Settlement and Release Agreement (“Settlement Agreement”), which he e-mailed to Plaintiffs’

counsel on October 18, 2019.

        7.      On October 21, 2019, Plaintiffs’ counsel asked Defendant’s counsel to add a provision

in the Settlement Agreement where Quality Electric agreed that it would provide a neutral reference

for the Plaintiffs if one was ever requested. Defendant’s counsel immediately added the requested

provision and returned the Settlement Agreement.

        8.      On October 22, 2019, Plaintiff’s counsel sent an e-mail to Defendant’s counsel stating:

“In a stunning turn of events, my clients now refuse to sign and settle.” A copy of the e-mail is attached

as Exhibit C.

        9.      On October 24, 2019, Defendant’s counsel sent a letter to Judge Palermo advising her

that the Plaintiffs were refusing to sign the Settlement Agreement. A copy of the letter is attached as

Exhibit D.

        10.     Judge Palermo ordered Plaintiffs and both counsel to appear before her on Monday

October 28, 2019, at 11:00 a.m. to discuss their refusal to sign the Settlement Agreement.


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           11.    On October 29, 2019, Plaintiffs Wallace and Morgan signed the Settlement Agreement.

           12.    Defendant’s counsel acknowledged receipt of the two executed Settlement

Agreements, but advised Plaintiffs’ counsel that no payments would be made to any of the Plaintiffs

until Thornton either signed the Settlement Agreement or the Court entered a finding that that the

agreement entered into at mediation was enforceable. See October 29, 2019 e-mail from Christopher

V. Bacon to Alfonso Kennard, attached as Exhibit E.

           13.    Plaintiffs’ counsel continued to make efforts to persuade to sign the Settlement

Agreement, but to no avail.2 On November 19, 2019, Plaintiffs’ counsel notified Defendant’s counsel

that he felt that future efforts to persuade Ms. Thornton to sign the Settlement Agreement would be

futile.

                                                   Argument

           A federal court has inherent power to enforce agreements entered into in settlement of

litigation. See Bell v. Shexnayder, 36 F.3d 447, 449 (5th Cir. 1994), and a district court may

exercise its discretion to enforce a settlement agreement where one party has agreed to a settlement

but later refuses to execute a formal agreement reciting the terms of the settlement. See., e.g.,

Daftary v. Metropolitan Life Ins. Co., 136 F.3d 137 (1998 WL 30059), at *1 (5th Cir. 1998) (per

curium). Here, there is uncontroverted evidence that Plaintiff Thornton knowingly and voluntarily

agreed to the terms of the settlement. Not only did she sign a written Mediation Agreement that

memorialized the terms of the settlement, but she was given an opportunity to express her dissent

when Judge Palermo questioned each of the parties after they had signed the Mediation Agreement.

She never indicated any opposition to the agreement that had been negotiated. Moreover, Plaintiff

was also represented by able counsel with experience in employment law throughout the



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 During this time, Defendant’s counsel agreed to make the release mutual since this appeared to be a sticking point
for Ms. Thornton.


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mediation. Hence, there is no question that she had competent advice about the merits of the case

and the reasonableness of the settlement.

       Moreover, Ms. Thornton’s position is not only at odds with Defendant Quality Electric,

but also with the other two Plaintiffs in this case since Quality Electric is not willing to pay them

the amounts promised until it is certain that it will not have to spend any money litigating this case

against Ms. Thornton. The amount that Quality Electric agreed to settle this case for was based on

the assumption that the company would achieve complete closure over this matter.

       WHEREFORE, PREMISES CONSIDERED, Quality Electric moves this Court to enter an

order finding that the Mediation Agreement that Ms. Thornton signed is enforceable and that this

case will be dismissed with prejudice and that the proceeds of the settlement due to Ms. Thornton

will not have to be paid until Ms. Thornton executes the Settlement Agreement. Furthermore,

Quality Electric asks the Court to award it $3,937.50 in attorney’s fees for the time spent attending

the hearing on October 21, 2019 (1.50 hours) and the time spent drafting this motion. (3.00 hours).

                                               Respectfully submitted,

                                                /s/ Christopher V. Bacon
                                               CHRISTOPHER V. BACON
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                                               Federal ID 12670
                                               VINSON & ELKINS L.L.P.
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                                               ATTORNEY FOR DEFENDANT QUALITY
                                               ELECTRIC STEEL CASTINGS, L.P.




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                             CERTIFICATE OF CONFERENCE

        I certify that on November 25, 2019, I conferred with Plaintiffs’ counsel regarding this
motion. Plaintiffs’ Counsel has advised me that he intends to withdraw as Ms. Thornton’s counsel,
but can only represent that Ms. Thornton herself is opposed to this Motion. Counsel is not opposed
to this motion with respect to Wallace and Morgan.



                                              /s/ Christopher V. Bacon
                                             Attorney for Defendant Quality Electric Steel
                                             Castings, LP




                                CERTIFICATE OF SERVICE

       I certify that on the 5th day of December, 2019, a true and correct copy of the foregoing
was filed electronically through the Court’s CM/ECF system and automatically copied to all
counsel of record.

                                              /s/ Christopher V. Bacon
                                             Attorney for Defendant Quality Electric Steel
                                             Castings, LP




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